                  Case 19-16391-amc                        Doc      Filed 07/01/24 Entered 07/01/24 12:50:10                                      Desc Main
                                                                    Document      Page 1 of 5
     Fill in this information to identify the case:
     Debtor1                 Kia M. Callands

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the Eastern District of Pennsylvania
                                                                (State)
     Case number 19-16391-amc




Form 4100R
Response to Notice of Final Cure                                                                      10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:               Mortgage Information


     Name of creditor: Nationstar Mortgage LLC                                                                                          Court claim no. (if known): 2-1
     Last 4 digits of any number you use to identify the debtor’s account:           6094

     Property address:                 6721 Kindred Street
                                       Number         Street

                                       Philadelphia, PA 19149
                                       City           State          ZIP Code
 Part 2:               Prepetition Default Payments

 Check one:

     [X]          Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s claim

     [ ]          Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the creditor’s
                  claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                                   $___________
 .


 Part 3:               Postpetition Mortgage

 Check one:

     [ ]          Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                  Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                  The next postpetition payment from the debtor(s) is due on:                   ____/____/______
                                                                                                MM/DD/YYYY

     [X]          Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                  Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                  Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                  a. Total postpetition ongoing payments due:                                                                                       (a) $1,503.00
                  b. Total suspense:                                                                                                               - (b) $559.79
                  c. Total. Subtract line b from line a:
                                                                                                                                                    (c) $943.21
                  Creditor asserts that the debtor(s) are contractually
                  obligated for the postpetition payment(s) that first became
                  due on:                                                                       05 / 01 / 2024
                                                                                                MM/ DD/ YYYY




 Form 4100R                                                 Response to Notice of Final Cure Payment                                                               page 1
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Debtor 1       Kia M. Callands                                          Document Case Page 2 of
                                                                                        number      5
                                                                                               (if known) 19-16391-amc
               First Name         Middle Name            Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part
3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof
of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to
the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from
the notice address listed on the proof of claim to which this response applies.

               X      /s/ Michelle L. McGowan                                                       Date 7/1/2024
                      Signature



 Print               Michelle L. McGowan                                                            Title Authorized Agent
                      First Name                      Middle Name          Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:


                      13010 Morris Rd., Suite 450
 Address
                      Number                Street

                      Alpharetta, GA 30004
                      City                           State               ZP Code


 Contact              470-321-7112                                                                                  Email mimcgowan@raslg.com




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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on              July 1, 2024             , I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has been
served via United States Mail to the following:

Kia M. Callands
6721 Kindred Street
Philadelphia, PA 19149

And via electronic mail to:

JEFFREY M. CARBINO
Leech Tishman Fuscaldo & Lampl
1007 N. Orange Street
Suite 420
Wilmington, DE 19801

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

                                                   By: /s/ Dena Eaves
                                                   Dena Eaves
                                                   deaves@raslg.com




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